                                 Case 10-12882-JKO       Doc 41      Filed 05/20/10         Page 1 of 1
B6J (Official Form 6J) (12/07)

          William Alonso Suaza
 In re    Claudia B. Gomez                                                                  Case No.     10-12882
                                                                 Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S) -
                                  AMENDED
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                      $                    0.00
 a. Are real estate taxes included?                           Yes               No X
 b. Is property insurance included?                           Yes               No X
2. Utilities:      a. Electricity and heating fuel                                                         $                   80.00
                   b. Water and sewer                                                                      $                    0.00
                   c. Telephone                                                                            $                  140.00
                   d. Other                                                                                $                    0.00
3. Home maintenance (repairs and upkeep)                                                                   $                  100.00
4. Food                                                                                                    $                  700.00
5. Clothing                                                                                                $                   20.00
6. Laundry and dry cleaning                                                                                $                   30.00
7. Medical and dental expenses                                                                             $                  180.00
8. Transportation (not including car payments)                                                             $                  350.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                        $                   80.00
10. Charitable contributions                                                                               $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                              $                    0.00
                   b. Life                                                                                 $                    0.00
                   c. Health                                                                               $                    0.00
                   d. Auto                                                                                 $                  140.00
                   e. Other                                                                                $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                (Specify)                                                                                  $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                 $                  100.00
                   b. Other                                                                                $                    0.00
                   c. Other                                                                                $                    0.00
14. Alimony, maintenance, and support paid to others                                                       $                    0.00
15. Payments for support of additional dependents not living at your home                                  $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)           $                    0.00
17. Other School Supplies                                                                                  $                   40.00
    Other Student Loan                                                                                     $                  250.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules                        $                2,210.00
and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                       $                1,970.48
b. Average monthly expenses from Line 18 above                                                             $                2,210.00
c. Monthly net income (a. minus b.)                                                                        $                 -239.52
